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United States Bankruptcy Court
District of Colorado

ln re 11380 SMITH RD LLC Casc No.

 

Debtor(s) Ch apter 11

VERIFICATION OF CREDITOR MATRIX

l, the Manager)‘Member ofthc corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledgc.

Date: February 13, 2018 151 Louls Hard
Louls HardfManagor»‘Member
Signer!'Title

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